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4/9/2019 Law Offices of Linda A. Kerns, LLC Mail - Correspondence attached

 

LAW OFFICES ar

LINDA A. KERNS Linda A. Kerns <linda@lindakernslaw.com>

 

 

 

Correspondence attached

 

Gates, Timothy <tgates@pa.gov>
To: "Linda A. Kerns" <linda@lindakernslaw.com>

Linda —

Thank you for sending the attached notice of violations of the NVRA to my attention today. | have this day, March 20,
2019 provided the attached notice to my clients Kathryn Boockvar and Jonathan Marks.

Have a nice day,
--Tim

Timothy E. Gates | Chief Counsel
PA Department of State | Office of Chief Counsel

306 North Office Building | Harrisburg, PA 17120
Phone: 717.783.0736 | Fax: 717.214.9899

www.dos.state.pa.us

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From: Linda A. Kerns <linda@lindakernslaw.com>
Sent: Wednesday, March 20, 2019 3:52 PM

To: Gates, Timothy <tgates@pa.gov>

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